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                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 25-5144                                                 September Term, 2024
                                                                      1:25-cv-01015-RCL
                                                       Filed On: May 22, 2025
Patsy Widakuswara, et al.,

              Appellees

       v.

Kari Lake, in her official capacity as Senior
Advisor to the Acting CEO of the U.S. Agency
for Global Media, et al.,

              Appellants


No. 25-5145
                                                                      1:25-cv-00887-RCL


Michael Abramowitz, in his official capacity as
Director of Voice of America, et al.,

              Appellees

       v.

Kari Lake, in her official capacity as Senior
Advisor to the Acting CEO of the United
States Agency for Global Media, et al.,

              Appellants

       BEFORE:       Srinivasan, Chief Judge, and Henderson, Millett, Pillard, Wilkins,
                     Katsas, Rao, Walker, Childs, Pan, and Garcia, Circuit Judges

                                         ORDER

       Upon consideration of the petitions for rehearing en banc, which move for en
banc reconsideration and vacatur of the court’s May 3, 2025 order; the responses
thereto; and the letters regarding case status, it is
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                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                       ____________
No. 25-5144                                                 September Term, 2024

      ORDERED that the motions be denied insofar as the motions request en banc
reconsideration and vacatur of the court’s May 3, 2025 order staying the following:

       In No. 25-5144, provision (1) of the district court’s preliminary injunction filed
April 22, 2025;

       In No. 25-5145, the district court’s preliminary injunction filed April 22, 2025, to
the extent the relief granted falls within provision (1) of the April 22, 2025 preliminary
injunction in No. 25-5144.

        A majority of the judges eligible to participate did not vote in favor of the motions
in this regard. Statements concerning this order will follow at a later time.


                                        Per Curiam


                                                          FOR THE COURT:
                                                          Clifton B. Cislak, Clerk

                                                  BY:     /s/
                                                          Daniel J. Reidy
                                                          Deputy Clerk




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